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December 9, 2016
James Dellworth

Assistant U.S. Attorney
111 South 10 Street, 20" Floor
St. Louis, MO 63102

Re: United States v. Michael Grady, et al
4:15 Cr 00404-HEA

Dear Mr. Dellworth:

The following is my official discovery request as counsel for the above-named
Defendant.

1. Statements: All written, recorded or oral statements made by Defendant. This
request includes, but is not limited to, any rough notes, records, reports,
transcripts of other documents and audio and video tapes on which statements of
Defendant are contained. The substance of oral statements, which the Government
intends to introduce, are discoverable under Fed. R. Crim. P. 16(a)(1)(A) and
Brady v. Maryland.

2. Documents, statements, reports, tangible evidence: Production of all
documents, statements, agent’s reports and tangible evidence favorable to
Defendant on the issue of guilt or which affects the credibility of Government
witnesses or the Government’s case.

3. Prior record other act evidence: All evidence, documents, records of
judgments and convictions, photographs and tangible evidence and information
pertaining to any prior arrests and convictions or prior bad acts. Evidence of prior
record is available under Fed.RCrimP. 16(a)(1)(B). Evidence of prior record is
available under Fed.R.Crim.P. 16(a)(1)(B). Evidence of prior similar acts is
discoverable under Fed.R.Crim.P 16(a)(1)© and Fed.R.Evid. 404(b) and 609.

This request also includes Defendant’s “rap” sheet and /or NCIC computer check.
4. Seized evidence: All evidence seized as a result of any search, either
warrantless or with a warrant, in this case. This is available under Fed.R.Crim.P.
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16(a)(1)©.

5. Agents reports, notes, memos: All investigative and arrest reports,
investigator’s notes, memos from arresting officers, sworn statements and
prosecution reports pertaining to Defendant These reports are available under
Fed.R.Crim.P. 16(a)(1)(B) and ©; and Fed.R.Crim.P. 26.2 and 12(1). In addition,
it is requested that you provide any witness interview notes that you have taken
which you consider to be statements attributable to the witness. See Goldberg v.
USA, 425 U.S. 94 (1976).

6. Other documents/tangible objects: All other documents and tangible objects,
including photographs, books, papers, documents, or copies or portions thereof,
which are material to Defendant’s defense or intended for use in the Government’s
case-in-chief or were obtained from or belong to Defendant. Specifically
requested are all documents, items and other information seized pursuant to any
search. Production is required under Brady.

7. Bias of Government witness: Any evidence that any prospective Government
witness is biased or prejudiced against Defendant or has a motive to falsify or
distort his/her testimony. See Pennsylvania v. Ritchie, 480 U.S. 39 (1987); United
States v. Strifler, 851 F. 2d 1197 (9" Cir. 1988).

8. Prior record, other acts of Government witness: Any evidence that any
prospective witness has engaged in any criminal acts whether or not resulting in a

conviction. See F.R.E., Rule 608(b) and Brady.

9. Investigation of witnesses: Any evidence that any prospective witness is under
investigation by federal, state or local authorities for any criminal or official
misconduct. United States v. Chitty, 706 F, 2d 425 (2™ Cir.), cert. denied, 474
U.S. 945 (1985).

10. Evidence regarding ability to testify: Any evidence including any medical or

psychiatric reports or evaluations tending to show that any prospective witness’
ability to perceive, remember, communicate, or tell the truth is impaired; and any
evidence that a witness has ever used narcotics or other controlled substances, or
has ever been a alcoholic. United States v. Stifler, 851 F. 2d. 1197 (9 Cir.).

 

11. Personnel files: It is requested that the Government review each agent’s
personnel file for information requested in paragraphs 7 through 10 above, and
determine whether there is any impeaching information contained in the files. See
United States v. Hentron, 931 F. 2d 29 (9 Cir. 1991).
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12. Government witnesses: The name and last known address of each prospective
Government witness. See United States v. Neap, 834 F. 2d 1311 (7" Cir. 1987);
United States v. Tucker, 716 F. 2d. 583 (9" Cir. 1983) (failure to interview
Government witneses by counsel is ineffective); United States v. Cook, 608 F. 2d.
1175, 1181 (9 Cir. 1979) (defense has an equal right to talk to witnesses).

 

13. Other witnesses: The name and last known address of every witness to the
crime or crimes charged (or any of the overt acts committed in furtherance
thereof) who will not be called to testify as Government witnesses. United States
v, Cadet, 727 F. 2d 1469 (9" Cir. 1984).

14. Favorable testimony: The name of any witness who made arguably favorable
statements concerning Defendant or who could not identify him or who was
unsure of his identify or participation in the crime(s) charged. Jackson v.
Wainwright, 390 F. 2d 288 (5® Cir. 1968); Chavis v. North Carolina, 637 F.ed
213, 223 (4" Cir. 1980); James v. Jag, 575 F. 2d. 1164 (6" Cir. 1978); Hudson v.
Blackburn, 601 F.2d. 785 (5 Cir, 1975).

15. Specific inquiries of agents: It is requested that the Government make specific
inquiry of each Government agent connected with this case for the above
documents and information. United States v. Jackson, 780 F. 2d. 1305 (6" Cir.
1986); United States v. Butler, 567 F. 2d. 885, 889 (9" Cir, 1978).

16. Rule 26.2 Material/timing of production: It is requested that the Government

provide all material available pursuant to Fed.R.Crim.P 26.2, sufficiently in
advance of trial or motion hearings so as to avoid unnecessary delay prior to cross-
examination.

17. Expert/resumes: The curriculum vitae of any and all experts the Government
intends to call as witnesses at trial, including any and all books, treatises or other
papers written by the expert which are relevant to the testimony.

18. Experts’ reports and summaries: Production of any and all reports of any
examinations or tests are requested pursuant to Rule 16(a)(1)(D). In addition, it is

requested that the Government disclose a written summary of testimony that the
Government intends to use under FRE 702, 703 or 705 and Fed R. Criminal Pro.
16(F) and (G). The summaries should describe the witnesses opinions, the basis
and reasons therefore and the witnesses qualifications.

nfidential informants and related information: It is requested that the
Government reveal the identity of any and all confidential informants who were
witnesses to the charged offenses in this case and all persons who have information
regarding any promises made to the confidential informant and the information
provided by the informant.
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20. Promises made or “deals” with Government witnesses: Under Giglio v.

United States, the Government must provide all promises or consideration given to
witnesses and the terms of any “deals” or agreements between it and witnesses.
See also United States v. Shaffer, 789 F. 2d. 682 (9" Cir. 1986).

21. Minutes of Grand Jury proceedings: Production of the minutes of all grand

jury proceeds related to the charges against Defendant are requested in order to
determine whether there has been compliance with Rule 6 with regard to the
attendance and number of grand jurors voting on the indictment. See Rule 6(b) to

(d).

22. Grand Jury transcripts: All grand jury transcripts are requested to be
produced within ten (10) days before trial.

 

23. Jencks Act material: Pre-trial production of all Jencks Act material within ten
(10) days before trial, is requested.

24. Statement by Government and refusal to provide: If the Government has any
of the above-requested items but refuses to provide them to the defense, please
advise and state what item(s) are refused and the grounds for refusal.

Sincerely,

/S/ Larry D. Hale
Larry D. Hale, 26997MO

Attorney For Defendant

Ce: Clerk of District Court
